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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


  SK INNOVATION CO., LTD.

                 Plaintiffs,
         v.
                                                        C.A. No. 19-1637-CFC
  LG CHEM, LTD., LG ENERGY
  SOLUTION, LTD., LG ENERGY
  SOLUTION MICHIGAN INC., and LG
  ELECRONICS INC.

                 Defendants.


  LG CHEM, LTD., LG ENERGY
  SOLUTION MICHIGAN INC.,

                 Counterclaim Plaintiffs,

         v.

  SK INNOVATION CO., LTD.,

                 Counterclaim Defendant.


                     JOINT STIPULATION AND ORDER OF DISMISSAL

          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and the terms

   of a separate agreement between the parties, Plaintiff-Counterclaim Defendant SK Innovation

   Co., Ltd., Defendants-Counterclaim Plaintiffs LG Chem Ltd. and LG Energy Solution

   Michigan, Inc., and Defendants LG Energy Solution, Ltd. and LG Electronics, Inc. submit

   this Joint Stipulation and Order of Dismissal in the above-entitled cause pursuant to the terms

   of the parties’ agreement. All claims and counterclaims are dismissed with prejudice. Each

   party shall bear its own costs and expenses relating to this litigation.
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   Date: May 26, 2021                    Respectfully submitted,



   YOUNG CONAWAY STARGATT &             FISH & RICHARDSON P.C.
   TAYLOR, LLP

                                         /s/ Robert M. Oakes
   /s/ Adam W. Poff                      Robert M. Oakes (No. 5217)
   Adam W. Poff (No. 3990)               222 Delaware Ave., 17th Floor
   Pilar G. Kraman (No. 5199)
                                         Wilmington, DE 19801
   Rodney Square                         (302) 652-5070 (Telephone)
   1000 North King Street
                                         oakes@fr.com
   Wilmington, DE 19801
   (302) 571-6600
                                         Attorneys for Defendants
   apoff@ycst.com
   pkraman@ycst.com

   Attorneys for Plaintiff



                                 SO ORDERED this _____ day of __________, 2021




                                 ______________________________________
                                 UNITED STATES DISTRICT JUDGE




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